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US DISTRKST (IO`URT
Western District of New York

 

CRAIGl CUNNINGHAM, an

lead §§I§,r! :!Q!
,.W>/.w, v M» .-.Wm,

Plaintiff,

VS.,

 

ijhauner, L`LC, jerome Davis, Direct Capitai Associates, `LLC Wiiiiam `Neison,
Lillian Roman
'Defendant,

 

P`iaint`ii"'i“is i)r‘iginai Compiainr

'1. The P]aintiff in this case is Craig Cunningham, 21 natural person and can be Served
Soeuirzo;:i:s at the address cf tire 1:.;:;§;.:1“;;1`§5:';;& ‘oz;}ow.

2. Chzmner, LLC is a Nevada Corporation With a d.efaulted, revoked, or permanently
revoked charter according to the Secretary of State of Nevada, but regardless still
operating Neveda corporation that is registered in .New `Ycri; Sra:re and carr be
Served via registered agent, Sr`lver Shie`ld Service, Inc., 4590 Deodar St., Si}ver
Springs, 'Nevada, 89429 or at 523 l\/lain Street., Ste 103 Buffalo, N'Y 14203.

,~z. Jerome .`i`)avis is the listed corporate officer according the the i\i`evada Secretery of
State Website, and can be served at PO Box 3540, Silver Springs, NV 89429 or
523 Main Street., Ste 103 Buft`alo, NY 142()3.

4. Direot Clapirai Associe;es, LLC is a New 'York Corporaiion With. a registered
agent of Northwest Registered. Agent, LLC, 90 State Street;, ste 700, Alba'ny, New

York 12207.

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Liiiian i`<ornan is a natural person and can he served at 523 iviain Street_, ste 103
Buffalo, NY 14203
Williarn `Nelson is a natural person and can be served at 523 Main Street., ste 103
Boi`faio, `i\l""i“' 14203
J'ohn or lane Does l»-5 are currently unknown persons or entities also liable for the
calls in this case
jurisdiction

Jurisdiction of this court arises as the acts happened and the defendants live and
Work; in this district
“v"enue in this `i')istrict is proper in that the defendants transact business here, and
the acts and transactions occurred here.

FACTUAL ALLEGATEGNS
ln 20 `17 through the present, the Plaintiff received multiple automated phone calls
with a pre-recorded message to the Plaintiff’ s cell phone
jerome Davis3 Liiiion i`<,oman, and Wiiiiarn Neison acting through the entities
Direct Capital Associates, lj,,LC and Channer, lsi/C sought to collect a non~
existant debt from the Plaintiff in a series of phone calls to the Plaintifi” s cell
phone 615»348~19‘7"/".
These phone calls violated the 'TCPA, 47 USC 227 et seq in two Ways, first by
having a pre-recorded message that failed to have the mandated identification
information such as the name oil4 the calling entity, maintaining a written do not

call policy, training agents on the do not call policy, identification cf sellers and

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teletnarl<eters, which violate 47 USC 227(c)(5) under the P‘CCls rule making
authority in 47 CP`R 64. l200(d) which entitles the Plaintiff to $1500 per call and
second by the automated nature of them and by containing pre-recorded messages
that were directed to the Piaintiifl s cell phone, which violates 4"7` U'SC 227(b`) and
additionally entitles the Plaintifi` to an award of l§l500 per call. ln total, each call

entitles the Plaintifi` to recover $3,000 per call

. ierorne `i§avis, Li,ilian i<o.man, and `Wiliiarn l\lelso.n are individually, jointiy, and

severally liable for the calls placed by or on behalf of Channer, 'LLC as they
personally participated and authorized the calls to be made on behalf of Channer,
lgfLC. lerome, Liilian, and ""v’v"iiliam knew that the illegal calls would be placed and
sought to profit from coercing consumers to pay imaginary debts Additionally,
the defendants operated a common enterprise between Channer, _LLC and Direct
Capitai LLC to place illegal calls to consumers including the `i"iaintiff in an
attempt to make claims of criminal charges to coerce payments about non»existant
debts

il"he calls were from an unknown/blocked caller li) and started with a pre~
recorded message that stated: “Il' is important you consult with thefi*crucl
invetigclrz`cns unit at 844»589~622(). When calling back please provide case
number ji" Z_`) .[\/[j 2 m 2 or press j lr) contact our Q[jice now lite `ir`laini;iil1 pressed
l and was connected with an agent that stated they were with US lnvestigative
Services, but in rcality, this was a false name given to deflect suspicion away
from the actual callers being Channer, 'LLC and i:lirect Capital Associates, .l,i;C,

and stated that the call was in relation to l\/legan Gordan.

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l5. Fl`he Plaintiili‘ immediately recognized that j ust the call at this point violated the
TCPA and the allegations of criminal activity and false or misleading
representations in the call violated the FDCPA and Texas Finance Code 392 as
well Furthermore, given the nature oi'b the call threatening criminal charges and
fraud for a civil claim at best, the call could very well be a fraudulent attempt to
scare and coerce consumers into paying debts that don’t exist

lo. line tile even has an entire wehpage dedicated to the recent emergence of fake
debt collectors and cites indications of a fake debt collector that ‘°refuses to give
you o mailing address or phone nnni/)er, or exerts high pressure lo score you into
paying soon as threatening ro novo you arrested or to report youf to o low
enforcement agency” .1 in an attempt to identify the callers that were calling from
a blocked number and were exerting high pressure scare tactics such as
his wife

l,7_ The representative of Channer, LLC asked if the Plaintiff had been notified by
lviia.mi l`)acie County by anything a clear insinuation that there was a criminal
investigation or proceeding afoot and claimed that Megan Gordan was being
charged with Collateral check fraud and malicious intent to defraud a financial
institution

l.S. Additionally, the agent claimed that they were collecting on behalf ot` Plain Green
fFinancial. The agent then claimed that they were going to move forward with
litigation and the amount owed was $9§59.95 cents in 20 iZ, out claimed the loans

carried a 700% interest rate and claimed that the current amount owed was

 

llittps://\vwwconsumerl`tc.gov/articica/0253-i`al<edebt-collectors

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§Zo$o.$o after 5 years ;Sirnpie math indicates this is a false or misleading
representation as compounding 3989 at 7 OO% Would just on a back of the
envelope calculation result in a balance of roughly $7,000 in a single year, and
significantly more over the past 5 years ii the debt originated in 212

l,9. Furthennore, a debt in 2012 Would be well past the statute of limitations to collect
or bring charges t`or in 2017 in Florida and Texas on a civil or criminal level The
i¥'TC again provides some guidance ibt consumer as they have an entire webpage
dedicated to the topic of time barred debts and the agency notes: “Iz' is against the
lam/for a collector to sue you or threaten to sue you on a time barred debt ”2

20. "`i`he agent stated that they had no information from i*'iain Green financial to
substantiate the debt, a copy of the bad check, not even a phone nuinber, address,
Webite, or eniail address The agent stated that by making a payment they could
consequences ” and “[egal reprecussions ” and repeated the claims of bringing
claims for check fraud and malicious intent to defraud a financial institution

21. Again in the interest in identifying the parties invoived, the l;iaintii“;i` made a
payment by credit card to the agent over the phone, as they Were unable cr
unwilling to provide any other identifying information on the entity they Were
calling on behalf oi". On iviay 30, 203 '7, the Plaintifi observed a charge on his
credit card in the amount of $6l .87 and the phone number of 855~854-8567 as a
result of the call

22 Additionaily, the `Piainti_i‘i` was sent an entail i`rorn Channer LLC titled "'t`l"hanner

LLC ,Payment Aurhoriznl'ion Form ” Which had the Plaintiff" s name, address, and

 

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24.

card information that the jir'iaintii`r` gave to the agent on the phone Additionaiiy,
the form had the address of 523 l\/lain Street, Ste 103, Buffalo, NY 14203 and the
phone number of 855-854-8567.

"l`he l;laintiff called and spoke with Channer"`s corporate officer jerome ji)avis
confirming that .l'erome was still the owner and operator of Channer, LLC and
lerome gave the Plaintiff the same phne number of 844~589~6220 to reach the
collection agency that lerome stated he was purportedly processing payments on
behalf o.f.

This flow of payments indicate that at a minimum as a result of the initial call
from Channer/"l)irect capital that Channer/"Direct Capital were paid as a result of
the illegal call and statements made during the call and the call was by or on

behalf of Channer, LLC/Direot Capital.

Even ifChanner/l)irect Capital, Ll`,,C did not directly make the caiis,

Channer/Direct are vicariously liable under the doctrine of ratification actual
attthority, and apparent authority Channer/Direct Capital, LLC ratified the
conduct of the illegal debt collection attempts by processing payments and
accepting money that results from the illegal calls Chan_ner/Direct Capital, LLC
has a formal, written contract with the calling party and knows that they Will

make illegal calls to harass and intimidate conumers into paying .

. At no time was Channer/Direct Capital, Ll,C or their calling entity bonded with

the state of 'l`exas as debt collectors are supposed to be. This is a violation ofth.e

"fi"exas rinance Code 392

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33.

. Channer/`Direct Capitai LLC violated the PQDCPA and lean Finance Code 392

by making false or misleading representations likely to deceive an unsophisticated

consumer by misrepresenting the amount of a debt

. Channer/"Direct Capital LLC violated the _P‘DCPA and lean .li'inance Code 3 `Z

by falsely representing that non payment ol` a debt would result in arrest or
imprisonment

Clianner/`i`)irect Capital l`.,iit;`§ violated the li‘."t"`)C/l"zit and lean Finaiice Code
392.30 l by alleging that criminal charges would be filed for non~payment of a
debt

392.30l by threatening to file suit on a time barred debt

Ch,anner/Direct Capital LLC violated the FDCPA and Texas Finance Code 392

by using a name other than the true business name in an attempt to collect a debt

. Channer/Direct Capital, LLC violated the FDCPA by threatening to sue the

Plaintift" for a time barred debt

€:A`USES vii za(i’il'l§€)l"i` x
CO`UNT l
Violations of the 'l`el,ephone Consumer l’rotection Act ('I`CPA)
Plainti_ii` Cunning.hain incorporates by reference all oi` the above paragraphs of

this complaint as though fully stated herein

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'TCPA by placing calls With pre~recorded/ automated messages to the Plaintiff’ s
cell phone that lacked the name, address, and phone number of the entity placing
the phone calls "I’hese actions violate 47 USC ZZT(b) and entitle the `Plaintii`i` to

$l 500 pet call in damages as these Were willful actions

CA`USES 617 A{`j”i_"ii(`il"€:
C()'UNT ll
Violations of the 'I`elephone Consumer Protection Act (TCPA)
35. lel,airitit?€unningham incorporates by reference ali of the above paragraphs of

this complaint as though fully stated herein

36. line foregoing actions by the .Deiendants constitute multiple breaches of the
TCPA by placing unsolicited and unwelcome telephone calls to the Plaintifl" s cell
phone These phone calls also violated the TCPA by having an ptc~~recotded

CAUSES ()F ACTION:
C()UNT I"Hf
ztfi<:»iations of the Fair "`iiebt Coiiection "Practices Act (FDCPA) 15 USC ivoé`§i et
seq
37. Plaintiff Cunningham_ incorporates by reference all of the above paragraphs of

this complaint as though i`uliy stated herein

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39.

Li(').

line foregoing actions by the ijeiendants constitute multiple breaches of the
FDCPA by placing unsolicited and unwelcome telephone calls to the Plaintift`s
cell phone and by making false or misleading representations and threats of legal
action that can‘t legally be taken
C()`UNT I`V
Violat.ions of the Texas Finance Code 392
i§iaintii"_i` Cunningham incorporates by reierence ali ot` the above paragraphs ot`

this complaint as though fully stated herein

lite foregoing actions by the i§`)ei"endants constitute multiple breaches oriv the
’l`exas Finance Code 392 by placing unsolicited and unwelcome telephone calls to
the Plaintit`li" s cell phone and hy making false, misleading and threatening

representations likely to deceive a consumer.

PR`AYER jFi}R DAIVEA€}ES A`N`i) I§`E`iii'Ei?‘S
WHEREFOR_E, Plaintifl", Cunningham, respectfully prays and requests that
judgment be entered against each and every defendant for the following
Statutory damages ot" $BUUO for each phone call for violations of the "`i`(§ii?A.
Dainages of $5,000 per violation of the Texas Finance Code 392
Punitive Dainage of $lO0,000 for violations of the Texas Finance Code and
FDCPA

Actual damages as determined by a judge/j ury

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F. Pre»j udginent interest from the date of the phone calls
G. §§l\)u.ic;y=o invites fm bringing line dwiiui.i, dual
H. Costs o:l" bringing this action; and

l. For such other and further relief as the Court may deem just and proper

j/‘ "“m"'“':§

 

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